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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 PETER LYOYA as the
 Personal Representative for
 THE ESTATE OF PATRICK LYOYA                  Case No. 1:22-CV-1160
 (deceased),
                                              Hon. Paul L. Maloney
       Plaintiff,                             Mag. Judge Sally J. Berens
 v.
 CHRISTOPHER SCHURR and
 THE CITY OF GRAND RAPIDS,
      Defendants.


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  PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE TO THE MOTION
    FOR RELIEF FROM ORDER PURSUANT TO FED R. CIV. P. 60(b)
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     PLAINTIFF’S REPLY BRIEF IN SUPPORT OF HIS MOTION FOR
     RELIEF FROM JUDGMENT PURSUANT TO FED. R. Civ. P. 60(b)


                                COUNTER ARGUMENT
       In opposing Plaintiff’s motion for Relief from Judgment pursuant to Fed. R.

 Civ. P. (60(b), Defendant asserts that Plaintiff has failed to demonstrate both that

 relief is proper under Rule 60(b) and that there is a basis on which Plaintiff’s

 complaint could be amended that would not be futile. Plaintiff will briefly address

 each argument in turn.

       I.     Relief is proper under Rule 60(b)

       As the Sixth Circuit has explained, Rule 60(b)(1) relief “is intended to provide

 relief in only two situations: (1) when a party has made an excusable mistake . . ., or

 (2) when the judge has made a substantive mistake of law or fact in the final

 judgment or order.” United States v. Reyes, 307 F.3d 451, 455 (6th Cir. 2002) (citing

 Cacevic v. City of Hazel Park, 226 F.3d 483, 490 (6th Cir. 2000)). Respectfully,

 Plaintiff submits that this Court made a mistake of law when it held that Plaintiff’s

 complaint did not satisfy the liberal notice pleading rules relative to his claim of

 municipal liability.

       In contending that this Court’s order granting dismissal to the City of Grand

 Rapids was legally correct, Defendant generally argues that the portions of


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 Plaintiff’s complaint cited in the motion for relief fail to establish a factual basis for

 a claim of municipal liability. Defendant does not deny that Plaintiff has cited

 statistics demonstrating that the City overwhelmingly clears its officers in the face

 of claims of excessive force nor does it deny the accuracy of those statistics.

 Likewise, Defendant does not deny the accuracy of Plaintiff’s allegations regarding

 the Grand Rapids Police Department disproportionately targeting minorities in

 traffic stops. Instead, Defendant asserts that those facts cannot give rise to a claim

 of municipal liability and did not support Plaintiff’s allegation that the policies,

 practices, procedures and customs of Grand Rapids were the moving force behind

 the underlying use of force.

       Municipalities can, as this Circuit has recognized, foster a climate or a culture

 where officers understand that constitutional violations will be tolerated. For

 example, in previously ruling that summary judgment was not available to a

 municipal defendant in a case with an underlying claim of excessive force, the Sixth

 Circuit stated that “A reasonable jury could find that the City’s excessive-force

 training regimen and practices gave rise to a culture that encouraged, permitted, or

 acquiesced to the use of unconstitutional excessive force, and that, as a result, such

 force was used on Wright.” Wright v City of Euclid, 962 F3d 852, 881 (CA 6, 2020).

       In Wright, the District Court granted summary judgment to the municipal

 Defendant, and the Sixth Circuit reversed. Two portions of that opinion are of use

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 in the present case. First, the opinion noted that the Plaintiff “argue[d] that the Euclid

 Police Department has a custom of permitting or acquiescing to the use of excessive

 force, which directly caused his injury.” Id. at 880. In making that argument, it does

 not appear that the Plaintiff in Wright provided any sort of statistical evidence to

 support his allegations. Instead, as the Court explained, the Plaintiff cited to the tone

 of Defendant’s training materials for its officers, which were comedic in nature and

 generally made light of the topic of use of force. After describing the improper tone

 of those materials, the Court stated that

         Wright has produced enough evidence such that a reasonable jury could
         find that the City’s custom surrounding use of force is so settled so as
         to have the force of law and that it was the moving force behind
         violations of Wright’s constitutional rights. We therefore REVERSE
         the district court’s grant of summary judgment on the issue of municipal
         liability under § 1983. [Id. at 881.]

         The Wright Court, in addition to the holding above, also reversed the grant of

 summary judgment relative to the claim of municipal liability on the basis of a

 ratification theory. The Plaintiff in Wright cited to a number of uses of force that

 were not adequately investigated after the use of force on him. The Sixth Circuit

 held that because such evidence was subsequent to the facts of that case, they did

 not assist the Plaintiff’s claim of municipal liability. But, the Court then explained

 that:

         However, Murowsky testified that he had never heard of a use of force
         incident by a Euclid officer that seemed inappropriate to him. That too
         moves the needle so that a reasonable jury could decide that use of
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        excessive force is ratified by the department. A reasonable jury could
        likewise find that Meyer and Murowsky’s seeming failure to ever
        meaningfully investigate excessive force complaints rises to the level
        of a ratification of use of force by a policymaker. [Id. at 882.]

        Plaintiff’s allegations in the present case, when accepted as true for the

 purposes of a motion to dismiss, create a viable claim of municipal liability under

 the standards described in Wright. Again, Paragraphs 49 and 50 of the Complaint

 state that:

        49. City has a policy, practice, procedure, protocol, and/or custom that
        demonstrates deliberate indifference to the rights of the Plaintiff and
        was the cause and moving force behind the violations and harm
        suffered.
        50. City has a history of whitewashing excessive force cases and citizen
        complaints, and routinely fails to adequately discipline their offending
        officers, even when City has concluded that the officer violated its
        policies or procedures.

 When considered in total, Wright establishes that where an officer who uses force is

 employed by a Department that has a history of downplaying excessive force claims,

 the culture of that Department may very well be the moving force behind that

 constitutional violation. That is exactly what this Plaintiff has alleged. Further,

 despite just being at the pleading stage, Plaintiff supported that allegation with

 statistics showing that excessive force is generally not investigated in Grand Rapids

 and, when it is, the discipline for such uses of force is minimal even where the officer

 violated municipal policies.



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       Whether Defendant Schurr’s use of force here was a product of the customs

 and policies described above is not what is at issue in this motion (just as it was not

 at issue in the motion to dismiss). That is something that will only be revealed

 through the discovery process. Instead, the concern of this Court at this stage should

 only be whether Plaintiff has made allegations that, if true, can support a claim of

 municipal liability. Wright establishes that the theory of municipal liability in this

 case is viable and was sufficiently alleged to proceed forward with discovery. Thus,

 Plaintiff requests that this Court exercise the discretion it has been granted to grant

 this motion for relief from judgement. To do so prior to discovery beginning in this

 case would ensure that the parties can focus their discovery efforts on all of the

 relevant issues, as opposed to having to resume discovery subsequent to an appeal

 of the grant of dismissal of Grand Rapids. Of course, if discovery does not establish

 that Plaintiff’s allegations, the subject of municipal liability can be revisited in a

 motion for summary judgment. Eliminating that sound theory from this case at this

 stage, however, will only result in needless delay and an inefficient use of judicial

 resources.


       II.    It would not be futile to permit Plaintiff to amend his Complaint

       As is explained above, Plaintiff set forth a viable claim of municipal liability

 under the law of this Circuit when he alleged that Defendant Grand Rapids has a

 history of whitewashing claims of excessive force and inadequately disciplining
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 officers that it knows to have committed excessive force, which then caused

 Defendant Schurr to use improper force toward Patrick Lyoya. However, to the

 extent that this Court does not believe that Plaintiff's Complaint makes those

 allegations sufficiently clear, the liberal policy toward amending Complaints dictates

 that an amendment be permitted here.

       In arguing that no amendment should be permitted in this case, Defendant

 argues that any amendment would be futile.          Defendant states that Plaintiff's

 amendment would presumably expand upon the allegation that Schurr’s use of force

 was the product of Grand Rapids failing to adequately investigate and discipline

 other uses of force. Defendant also asserts that to the extent the amendment would

 also maintain that Grand Rapids had a history of discrimination toward minority

 drivers, such allegations would be irrelevant because the Complaint does not include

 an equal protection argument. Those arguments are without merit.

       For the same reasons set forth above, the evidence that Grand Rapids does not

 properly investigate claims of excessive force and does not properly discipline

 officers found to have utilized excessive force is squarely within the theory of

 liability endorsed in Wright. Further, despite Defendant’s assertions to the contrary,

 the evidence that Defendant disproportionately targets minority drivers for traffic

 stops is not irrelevant to the claim of municipal liability, regardless of the presence

 of an equal protection claim.


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       Under Monell and its progeny (like Wright), Grand Rapids may be

 municipally liable if its policies, practices, procedures and customs caused a

 constitutional violation. If this Court permitted Plaintiff to amend his Complaint, he

 would explicitly allege that Defendant Schurr was shaped by the environment of the

 Grand Rapids Police Department, where he became accustomed not only to officers

 pulling over minority drivers that otherwise would not be pulled over, but also to

 officers using force without regard for the constitution. Absent that environment

 that communicated that he was free to violate Patrick’s constitutional rights, Schurr

 would have abided by the law and would have refrained from using lethal force

 without warning or legal justification. In essence, there were multiple improper

 customs relating to the manner in which officers from Grand Rapids interacted with

 the public. The combination of those customs and practices in Grand Rapids directly

 resulted in Patrick’s murder, which was a violation of his 4th Amendment rights.

       Again, Plaintiff believes that his Complaint adequately set forth the above

 theory and that Defendant readily understood the nature of Plaintiff's allegations.

 Where the Supreme Court has stated that “[t]he liberal notice pleading of Rule 8(a)

 is the starting point of a simplified pleading system, which was adopted to focus

 litigation on the merits of a claim,” Swierkiewicz v Sorema NA, 534 US 506, 514;

 122 S Ct 992; 152 L Ed 2d 1, 10 (2002), no further allegations were needed.

 Likewise, as the Sixth Circuit has explained, “Rule 15(a), Fed. R. Civ. P., provides


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 that leave to amend shall be ‘freely given’ when justice so requires. The thrust of the

 provision ‘is to reinforce the principle that cases should be tried on their merits rather

 than on the technicalities of pleadings.’” Janikowski v. Bendix Corp, 823 F.2d 945,

 951 (6th Cir. 1987), quoting Tefft v. Seward, 689 F.2d 637, 639 (6th Cir. 1982).

 Plaintiff was not using this Court as a “sounding board” for his operative complaint

 and is not seeking to amend the complaint to add in some theory that deviates from

 what has been repeatedly asserted in pleadings and papers that have been submitted

 thus far. In other words, Plaintiff is not seeking to abuse the liberal policy that favors

 amendment, but is instead merely attempting to satisfy this Court’s concerns

 regarding the causal connection between the death of Patrick Lyoya and the policies,

 practices, procedures and customs of Defendant Grand Rapids.



                                      CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests that this

 Honorable Court grant Plaintiff’s motion for relief where Plaintiff adequately

 alleged a cause of action for municipal liability against Defendant Grand Rapids.

 This motion, which was timely filed in a reasonable period of time following the

 order of dismissal, demonstrates that Plaintiff’s operative complaint was viable in

 all regards. At a minimum, consistent with the liberal approach to amending




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 complaints and litigating cases on the merits, dismissal was unwarranted without

 providing an opportunity to remedy the Court’s concerns regarding the pleadings.

                                      Respectfully submitted,

                                      JOHNSON LAW, PLC.

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 Dated: November 1, 2023




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                     CERTIFICATE OF COMPLIANCE

            I hereby affirm that this brief is in compliance with
      LCivR7.2(b)(i) and contains 2,033 words in the Times New Roman
      Font, 14 point, and generated in Microsoft Word processing software,
      version 2012.

                              /s/ Maria A. Reyna
                             MARIA A. REYNA


                        CERTIFICATE OF SERVICE

             The undersigned certifies that on November 1, 2023, a copy of
      the forgoing document was served upon the attorneys of record in the
      above cause, by efiling it on the Court’s ECF system.


                              /s/ Maria A. Reyna
                             MARIA A. REYNA




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